


  Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated August 7, 2007 (People v Williams, 43 AD3d 414 [2007]), affirming a judgment of the County Court, Suffolk County, rendered August 10, 2004.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Eng, P.J., Hinds-Radix, Duffy and Brathwaite Nelson, JJ., concur.
 
